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                           IN THE UNITED STATES DISTRICT COURT​
                              FOR THE DISTRICT OF MARYLAND


MAYOR AND CITY COUNCIL OF
BALTIMORE, et al.,

Plaintiffs,

vs.                                                   Civil Action No. 1:25-cv-00458-ABA

CONSUMER FINANCIAL PROTECTION
BUREAU, et al.,

Defendants.




                           DECLARATION OF J. STERLING MOORE


        I, J. Sterling Moore, declare as follows:

Background

              1.​ I am over eighteen years old, of sound mind, and fully competent to make this

                 declaration. I also have personal knowledge of the factual statements contained

                 herein.


              2.​ The Consumer Financial Protection Bureau’s website, consumerfinance.gov,

                 instructs that if “you can’t submit online, you can submit a complaint over the

                 phone by calling us at (855) 411-CFPB (2372), toll free, 8 a.m. to 8 p.m. ET,

                 Monday through Friday.”


              3.​ On Wednesday, February 12, 2025, around 6:10 p.m. ET, I called the CFPB’s

                 complaint phone line at (855) 411-2372.
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             4.​ After listening to an automated introductory message, I navigated the phone menu

                and selected the number indicated for people who have submitted or want to

                submit complaints.


             5.​ An automated message then told me I had contacted them after hours, and that I

                could reach them through the same number between 8 a.m. and 8 p.m. ET,

                Monday through Friday.


             6.​ I was unable to reach a live operator or otherwise begin the process of submitting

                a complaint over the CFPB’s toll-free phone line, despite calling within the stated

                hours.




Executed:​         February 12, 2025



                                                   By:
                                                         J. Sterling Moore
                                                         Counsel
                                                         Democracy Forward Foundation




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